                Case 2:22-cv-01009-TL Document 99 Filed 03/27/23 Page 1 of 1




 1

 2

 3

 4

 5

 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8

 9      SECURITIES AND EXCHANGE                                CASE NO. 2:22-cv-01009-TL
        COMMISSION,
10                                                             ORDER GRANTING LEAVE TO
                                Plaintiff,
11              v.                                             FILE AMICUS CURIAE BRIEF

12      ISHAN WAHI et al,

13                              Defendants.

14
            This matter comes before the Court on Paradigm Operations LP’s motion for leave to file
15
     an amicus curiae brief (Dkt. No. 67) and its statement in response to the Court’s March 17, 2023,
16
     Order (Dkt. No. 96). The Court has reviewed these filings and the proposed brief, and no
17
     responses having been filed by the Parties, GRANTS the motion. Paradigm Operations LP shall
18
     file its amicus brief on the docket within two (2) days of entry of this Order.
19
            Dated this 27th day of March 2023.
20

21                                                          A
                                                            Tana Lin
22                                                          United States District Judge
23

24


     ORDER GRANTING LEAVE TO FILE AMICUS CURIAE BRIEF - 1
